131 F.3d 150
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of AMERICA, Plaintiff-Appellee,v.Carmelo VELLE-SANCHEZ, Defendant-Appellant.
    No. 94-50556.
    United States Court of Appeals,
    Ninth Circuit.Nov. 20, 1997.Submitted November 17, 1997**
    
      Appeal from the United States District Court for the Central District of California
      Before:  HUG, Chief Judge, PREGERSON AND BEEZER, Circuit Judges.
    
    
      1
      MEMORANDUM*
    
    
      2
      Carmelo Valle-Sanchez appeals his guilty plea conviction and sentence for illegal reentry of a deported alien following a felony conviction in violation of 8 U.S.C. § 1326(a).  Valle-Sanchez's counsel has submitted a brief pursuant to Anders v. California, 386 U.S. 738 (1967), and a motion to withdraw as counsel of record.  Because our review of the record pursuant to Penson v. Ohio, 488 U.S. 75, 83 (1988), discloses no meritorious issues for review, we AFFIRM the district court's judgment and GRANT the motion of counsel to withdraw.
    
    
      
        **
         The panel unanimously finds this case suitable for decision without oral argument.  See Fed.R.App.P. 34(a);  9th Cir.  R. 34-4
      
      
        *
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    